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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001                03 MDL 1570 (GBD)(SN)


This document relates to:
Morris v. Islamic Republic of Iran, No. 1:18-cv-05321 (GBD)(SN)
Rowenhorst v. Islamic Republic of Iran, No. 1:18-cv-12387 (GBD)(SN)
King v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD)(SN)

    [PROPOSED] ORDER OF PARTIAL FINAL JUDGMENTS FOR DAMAGES ON
           BEHALF OF THE PLAINTIFFS IDENTIFIED IN EXHIBIT A

          Upon consideration of the default judgment motions filed at ECF Nos. 10524 and 10822,

and the Court’s Order at ECF No. 10997, it is hereby:

          ORDERED that a partial final damages judgment is entered against Iran on behalf of the

Plaintiffs in the above-captioned matters, as identified in the attached Exhibit A, who are the

estates of victims of the terrorist attacks on September 11, 2001, as indicated in the attached

Exhibit A; and it is further

          ORDERED that the Plaintiffs identified in the expert reports submitted in support of the

Declarations of Jerry S. Goldman, Esq. (“Goldman Declarations”) at ECF Nos. 10526 and 10824

are awarded economic damages, as set forth in the attached Exhibit A and as supported by the

expert reports and analyses tendered in conjunction with the Goldman Declarations; and it is

further

          ORDERED that the Plaintiffs identified in Exhibit A are awarded prejudgment interest

of 4.96 percent per annum, compounded annually, running from September 11, 2001 until the

date of judgment, in the amount of $___________; and it is further

          ORDERED that the Plaintiffs identified in Exhibit A may submit an application for

punitive damages, economic damages, or other damages (to the extent such awards have not


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previously been ordered) at a later date consistent with any future rulings made by this Court on

this issue; and it is further

         ORDERED that the remaining Plaintiffs in the above-captioned matters not appearing in

Exhibit A may submit in later stages applications for damages awards (to the extent such awards

have not previously been ordered), and to the extent such plaintiffs are similarly situated to the

Plaintiffs appearing in Exhibit A, the applications will be approved consistent with those

approved herein for the Plaintiffs appearing in Exhibit A.

                                                SO ORDERED:



                                                GEORGE B. DANIELS
                                                United States District Judge
Dated:    New York, New York
          _____________, 2025




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                                                                                       Case 1:03-md-01570-GBD-SN                                                                             Document 11003-1            Ex. A
                                                                                                                                                                                                                                                                              Filed 06/03/25                                                Page 3 of 3


                       Personal Representative                                                     9/11 Decedent                                                                  Claim Information                                               Pain & Suffering Damages                                                                                  Economic Damages

                                                                                                              Nationality on                                                                                                                                                                                                                                                                 Prior
         First             Middle                Last      Suffix    First    Middle      Last       Suffix                    Date of Death   9/11 Site     Case          Complaint            Amendments & Substitutions          Prior Award         Amount               Treble                                        Report                                          Date of Report                Amount         Treble   Notes
                                                                                                                  9/11                                                                                                                                                                                                                                                                      Award
                                                                                                                                                                                                                                                                                      See Exhibit C-3b to Declaration of Jerry S. Goldman, Esq. at ECF No. 10526 at page
1    Hillary; Leslie                                                                                                                                                   18cv05321, 6 at 13              11001 (pending)                  N/A               N/A                 N/A                                                                                              10/1/24       N/A     $   2,530,848.00    N/A
                                          Hans; Ruben               Ronald      J.       Ruben                United States      9/11/01          NY       18cv05321                                                                                                                                                          115.
                                                                                                                                                                                              7525 at 3 (granted at 7555); 11001                                                      See Exhibit C-3b to Declaration of Jerry S. Goldman, Esq. at ECF No. 10824 at page
2      Theresa                                                                                                                                                         18cv12387, 1 at 1                                               N/A                N/A                 N/A                                                                                              4/1/25        N/A     $   3,382,813.00    N/A
                                          Russo-Kempf               Michael   Thomas     Russo                     USA           9/11/01          NY       18cv12387                                       (pending)                                                                                                           52.
                                                                                                                                                                                              9261 at 4 (granted at 9263); 11001                                                      See Exhibit C-3b to Declaration of Jerry S. Goldman, Esq. at ECF No. 10824 at page
3   Ayleen; George                                                                                                                                                     22cv05193, 1 at 7-8                                             N/A                N/A                 N/A                                                                                              1/1/25        N/A     $   1,226,072.00    N/A
                                        Arroyo; Santiago            Ayleen      J.      Santiago                   USA           9/11/01          NY       22cv05193                                       (pending)                                                                                                           70.




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